
73 So.3d 596 (2011)
STATE of Alabama ex rel. W.M.E.
v.
G.C.
2090189.
Court of Civil Appeals of Alabama.
June 10, 2011.
Sharon E. Ficquette, chief legal counsel, and Jennifer M. Bush, legal counsel, Department *597 of Human Resources, for appellant.
Submitted on appellant's brief only.

After Remand from the Alabama Supreme Court
BRYAN, Judge.
The prior judgment of this court has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte State of Alabama ex rel. W.M.E., [Ms. 1091320, March 18, 2011] 73 So.3d 593 (Ala.2011). On remand to this court and in compliance with the supreme court's opinion, we reverse the trial court's judgment insofar as it waives "the interest that otherwise would accrue prospectively on the $27,791.29 judgment for child-support arrearage," id. at 596, and we remand the cause for further proceedings consistent with the supreme court's opinion.
REVERSED AND REMANDED.
THOMPSON, P.J., and PITTMAN, THOMAS, and MOORE, JJ., concur.
